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                                                  Follow-up/ Concluding
                                                                45 Filedthe settlement terms Page 2 of 6
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     From:    Donna M. Ashton, Esq. <dma@ashton-law.com>
        To:   Andre Bisasor <quickquantum@aol.com>
       Cc:    Carolyn Turner <cmt@ashton-law.com>; Natalie Anderson <liberty_6@msn.com>
   Subject:   Re: Follow-up/ Concluding the settlement terms
      Date: Mon, Jun 4, 2018 8:51 am


  Mr. Bisasor

  Thank you for the follow up.  We are still handling the remaining action items.  As there are numerous
  courts with different procedures, we need to investigate each one's rules for the action required.

  While we do that, can you please provide me with copies of your materials, including your motions per
  the agreement.  We will need to review those as well.

  Donna Ashton

  Donna Ashton

  781.756.6600 (Office)

  dma@ashton-law.com

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  may be subject to the attorney-client privilege or other confidentiality protections. If you are not a designated recipient, you
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  delete this message. Thank you.


  On Mon, Jun 4, 2018 at 8:49 AM, Andre Bisasor <quickquantum@aol.com> wrote:
     Ms. Ashton, Ms. Turner,

     We would like to conclude the terms of the settlement.

     We did not hear back from you until about 10 months after we sent you the plan of action to wrap-up the settlement terms in September
     of 2017.

     When we did not hear from you, we had the impression that you were no longer involved with representing Greystar or this matter.

     Now that we recently heard back from you in April and May 2018, we became hopeful that we can now finally get back to the business
     of executing the settlement per the agreement.

     However, it has been another two weeks since our last email to you below and we have not received a reply or the draft of the
     documents per the plan of action below.

     Please advise as to when you will be able to send us the draft documents and what timeline you expect to be able to conclude the
     settlement.

     Thank you.

     Andre Bisasor




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                                                  Follow-up/ Concluding
                                                                45 Filedthe settlement terms Page 3 of 6
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     -----Original Message-----
     From: Andre Bisasor <quickquantum@aol.com>
     To: cmt <cmt@ashton-law.com>; dma <dma@ashton-law.com>
     Cc: liberty_6 <liberty_6@msn.com>; quickquantum <quickquantum@aol.com>
     Sent: Mon, May 21, 2018 9:31 am
     Subject: Fwd: Follow-up/ Concluding the settlement terms

     Ms. Turner, Ms. Ashton,

     We are in receipt of your recent communications. In reply, we would like to mention a few things.

             1) If you recall, on September 28, 2017, we sent you an email titled "Follow-up/ Concluding the
             settlement terms" with an attached document that outlined a list of things that needed to be done and a
             schedule to get them done i.e. a suggested plan of action for wrapping up the settlement situation. In
             response, you had indicated that "I am not sure I will be able to review/attend to your proposal before
             the weekend, so another 3-4 week continuance to get the finalized documents completed is acceptable to
             me. I will contact you early next week after I have a chance to review your proposal." However, we
             had not heard back from you until recently.

             2) In a follow-up email sent by Ms. Ashton on April 9, 208, you indicated "There are some loose ends in
             terms of dismissals and letters to the police that we need to finalize. I will be sending over drafts of
             these documents this week for your review. I'm hoping that we can file all of the documents in short
             order, so no further continuances are needed in any hearings." Ms. Turner then sent an email on Friday
             May 18, 2018, with drafted stipulations of dismissals for us to sign.

             3) But per the suggested plan of action attached, these items are to be signed and filed after a few others
             things have occurred first. [NB: Since you have not indicated otherwise, we assume that the suggested
             plan of action that was attached is acceptable].

             4) So, towards that end, to start the ball rolling in that suggested plan of action, we would like to revisit
             that schedule and ask that you first send us by email a draft of the following the documents as soon as
             possible:

                     - A draft of the document that will contain the instruction to the court to recall executions in the
                     Dedham District court pertaining to both Bisasor and Anderson in cases #1554-SU-0026 &
                     #1554-SU-0028.

                     - A draft a copy of the police letter.

             Please remember to not file these documents with the Dedham District court or the police before
             sending us a draft and not until we email you confirmation that we have no objection to the wording (i.e.
             that there are no suggested tweaks from us). This is critical to ensuring that there is no
             misunderstanding.

             5) Likewise, we will send you by email the following as well (for your review to confirm no objection
             to the wording from you and for you to sign and notarize and send back to us by overnight mail as per
             the settlement contract):

                     - A draft of the motions for vacatur of judgments

                     - A draft of the motion to expunge

             6) Once these have been done, as per the attached suggested plan of action, we can/should then proceed
             with filing the dismissals. [NB: It is critical that the recall of executions, the motions for vacatur of
             judgments and the motion to expunge have been filed and approved first, before the stipulation of
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             dismissals are filed with the court as, obviously, it is best to not close the cases before these actions have
             taken place].

     We look forward to your reply and to receiving the aforementioned drafts, so that we can finally conclude our
     settlement terms.

     Thanks,

     Andre Bisasor

     P.S. Please see here again an excerpt from the attached suggested schedule for plan of action.

                             ----------------------------------------------------------------------------------

                             SUGGESTED SCHEDULE/ORDER/SEQUENCE FOR ACCOMPLISHMENT OF
                             OBLIGATIONS

                             A) For Dedham District Court Cases #1554-SU-0026 & #1554-SU-0028

                             1. Landlord drafts document for recall of executions
                             2. Then Landlord sends advanced copy of draft of recall of executions to Bisasor/Anderson
                             3. Then Landlord confirms no objection by Bisasor/Anderson
                             4. Then Landlord files recall of executions with court
                             5. Then Bisasor/Anderson drafts motion for vacatur of judgments
                             6. Then Bisasor/Anderson sends advanced copy to Ashton Law
                             7. Then Bisasor/Anderson receives notarized written assent to relief requested. Ashton Law
                             sends original notarized hard copy by mail
                             8. Then Bisasor/Anderson file with the Dedham District Court the motion to vacate
                             judgment with assent from Landlord (notarized)
                             9. Then upon approval by Dedham District Court, Landlord drafts stipulations of dismissal
                             with prejudice. Then Landlord sends copy to Bisasor/Anderson
                             10. Then Bisasor/Anderson signs stipulation of dismissal
                             11. Then Landlord files stipulation of dismissal with prejudice with the court

                             B) For Dedham District Court Cases #1554SU000013 & #1254SU000073

                             12. Bisasor/Anderson drafts motion to expunge
                             13. Then Bisasor/Anderson sends advanced copy to Ashton Law
                             14. Then Bisasor/Anderson receives notarized written assent to relief requested. Ashton
                             Law sends original notarized hard copy by mail
                             15. Then Bisasor/Anderson file with the Dedham District Court the motion to expunge with
                             assent from Landlord (notarized)
                             16. Then Bisasor/Anderson awaits decision from court
                             17. Then Landlord drafts stipulations of dismissal with prejudice. Then Landlord sends
                             copy to Bisasor/Anderson.
                             18. Then Bisasor/Anderson signs stipulation of dismissal
                             19. Then Landlord files stipulation of dismissal with prejudice with the court

                             C) For Dedham Police Station

                             22. Landlord draft a copy of the police letter and then sends advanced copy to
                             Bisasor/Anderson
                             23. After receiving confirming of no objection from Bisasor/Anderson, then Landlord sends
                             police letter to Dedham police station
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                           24. Bisasor/Anderson drafts police letter and sends advanced copy to Ashton Law
                           25. After receiving confirming of no objection from Ashton Law, then Bisasor/Anderson
                           sends police letter to Dedham police station

                             D) For all other courts including state appeals court and federal courts

                             26. Bisasor/Anderson drafts stipulations of dismissal and sends advanced copy to Ashton
                             Law
                             27. After receiving confirming of no objection from Ashton Law, then Bisasor/Anderson
                             files stipulations of dismissals in all courts

                             ---------------------------------------------------------------------


     -----Original Message-----
     From: Donna M. Ashton, Esq. <dma@ashton-law.com>
     To: Andre Bisasor <quickquantum@aol.com>
     Cc: Carolyn Turner <cmt@ashton-law.com>; Natalie Anderson <liberty_6@msn.com>
     Sent: Thu, Sep 28, 2017 2:44 pm
     Subject: Re: Follow-up/ Concluding the settlement terms

     Mr. Bisasor

     I am not sure I will be able to review/attend to your proposal before the weekend, so another 3-4 week
     continuance to get the finalized documents completed is acceptable to me. I will contact you early next week
     after I have a chance to review your proposal.

     Thank you
     Donna


     -----Original Message-----
     From: Andre Bisasor <quickquantum@aol.com>
     To: dma <dma@ashton-law.com>; cmt <cmt@ashton-law.com>
     Cc: liberty_6 <liberty_6@msn.com>
     Sent: Thu, Sep 28, 2017 2:29 pm
     Subject: Follow-up/ Concluding the settlement terms

     Ms. Ashton,

     I am writing you to suggest a plan of action for concluding the terms of the settlement agreement over the next
     two weeks. As I reviewed the terms, I realize that the mechanics are a little more involved than first meets the
     eye and that there has to be a logic to the sequence of certain actions or events. I have drafted a document that
     outlines the obligations of each party in an easy to reference list and then I propose a sequence to getting these
     all done. Please review and let me know if you are in agreement. See attached.

     Otherwise if you have any questions or suggestion, please let me know.

     Also, I have been in contact with the trustee to formally get his written assent to move forward with
     dismissals, now that the payments have been received and cleared by both him and my wife. However, given
     the timeline as it stands right now,, we will likely need another two weeks to try to wrap everything up.
     Therefore, I ask for your assent to extend the 30 day deadline in the agreement by another 3 or 4 weeks.

     I look forward to your reply.
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     Thanks

     Andre Bisasor




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